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5
     Attorney for Defendant
6    FELICIA GRANT
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )     No. CR-S-07-118-WBS
                                     )
13                  Plaintiff,       )
                                     )     STIPULATION AND ORDER TO CONTINUE
14        v.                         )     STATUS CONFERENCE
                                     )
15   FELICIA GRANT,                  )
                                     )     Date: June 11, 2007
16                  Defendants.      )     Time: 8:30 a.m.
                                     )     Judge: Hon. William B. Shubb
17   _______________________________ )
18
19        Felicia Grant, by and through her counsel, Caro Marks, Assistant
20   Federal Defender, John Anderson, by and through his counsel, Mark
21   Reichel, and the United States Government, by and through its counsel,
22   Jill Thomas, Assistant United States Attorney, hereby stipulate and
23   agree to vacate the previously scheduled Status Conference date of
24   May 14, 2007 and set a new Status Conference date of June 11, 2007 at
25   8:30 a.m..
26        The defense has not completed its review of the discovery in this
27   case. In addition, the defendants need time to liste to the audio
28   recordings recently discovered to defense counsel.         Finally, at least
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1    one and possibly both defendants will seek a departure under Chapter 5
2    of the sentencing guidelines, and need more time to complete this task.
3          Therefore, IT IS STIPULATED between the parties that the time
4    period between the signing of this Order up to and including June 11,
5    2007, be excluded in computing the time within which trial must
6    commence under the Speedy Trial Act, pursuant to 18 U.S.C. §
7    3161(h)(8)(B)(iv) and Local Code T4, for ongoing preparation of
8    counsel.
9    Dated:     May 11, 2007                   Respectfully submitted,
10                                             DANIEL BRODERICK
                                               Federal Defender
11
                                               /s/ Caro Marks
12                                             ________________________
                                               CARO MARKS
13                                             Assistant Federal Defender
                                               Attorney for Defendant
14                                             FELICIA GRANT
15
                                               /s/ Mark Reichel
16                                             ________________________
                                               MARK REICHEL
17                                             Attorney for Defendant
                                               JOHN ANDERSON
18
19   Dated: May 16, 2007
20                                             MCGREGOR SCOTT
                                               United States Attorney
21
22                                             /s/ Jill Thomas
23                                             JILL THOMAS
                                               Assistant U.S. Attorney
24
                                            ORDER
25   IT IS SO ORDERED.
26   Dated:     May 14, 2007
27
28


     Stipulation & Order                      -2-
